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                             Plaintiff Jane Doe’s Notice Regarding Similar Acts of Sexual Assault




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